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                         ATTACHMENT 6

           FTI DTDF October 2006 Monthly Statement
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November 28, 2006



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), October 2006 Monthly Statement (Third)
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period October 1, 2006 through October 31, 2006.

Copies of this monthly statement have been provided via email to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Lynn Trinka Ernce, Esa., Orrick, Herrington & Sutcliffe LLP

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada (copy also via FedEx)
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   November 28, 2006


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from October 1, 2006 through October 31, 2006

Total Current Fees                                                                     $   132,851.25
Total Current Expenses                                                                       1,370.24

Total Current Fees and Expenses                                                        $   134,221.49

Eighty Percent of Total Current Fees                                                    $ 106,281.00
One Hundred Percent of Total Current Expenses                                               1,370.24

Total Amount Due this Statement                                                        $   107,651.24


SEE DETAIL ATTACHED.




                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                               USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit A
                                     Total Hours, Fees and Expenses
                             For the Period of 10/1/2006 through 10/31/2006
Consultant             Level                 Hours             Rate        Fees    Expenses       Total

Tucker, M.             Sr. Managing Dir.     116.2       $450         52,290.00    1,084.08   53,374.08

Belt, D.               Managing Director         15.4    $415          6,391.00        0.00    6,391.00

Bellazain-Harris, S.   Managing Director          2.5    $415          1,037.50        0.00    1,037.50

Harvick, C.            Director              107.5       $375         40,293.75        0.00   40,293.75

Peterson, L.           Senior Consultant     105.2       $295         31,034.00        0.00   31,034.00

Smith, S.              Paraprofessional          19.0     $95          1,805.00        0.00    1,805.00

Administration         Admininstrative            0.0          $0          0.00      286.16      286.16

Grand Total                                   365.8                 $132,851.25   $1,370.24 $134,221.49




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                         For the Period of 10/1/2006 through 10/31/2006
Consultant                                                                Hours                Fees
Asset Analysis and Recovery
     Bellazain-Harris, S.                                                    1.5             622.50
     Belt, D.                                                                2.2             913.00
     Harvick, C.                                                            19.7            7,387.50
     Peterson, L.                                                           52.5           15,487.50
     Tucker, M.                                                              8.6            3,870.00

     Total for Asset Analysis and Recovery:                                 84.5           28,280.50


Asset Sale
     Harvick, C.                                                             9.3            3,468.75
     Peterson, L.                                                            0.6             177.00
     Tucker, M.                                                             10.2            4,590.00

     Total for Asset Sale:                                                  20.1            8,235.75


Case Administration
     Harvick, C.                                                             1.2             450.00
     Peterson, L.                                                            0.2              59.00
     Smith, S.                                                               1.0               95.00
     Tucker, M.                                                              2.3            1,035.00

     Total for Case Administration:                                          4.7            1,639.00


Claims Administration and Objections
     Harvick, C.                                                             0.6             225.00
     Tucker, M.                                                              0.7             315.00

     Total for Claims Administration and Objections:                         1.3             540.00


Collection Account Distributions and Related Disputes
     Belt, D.                                                                4.4            1,826.00
     Harvick, C.                                                             3.8            1,425.00
     Peterson, L.                                                            4.4            1,298.00
     Tucker, M.                                                              0.2              90.00

     Total for Collection Account Distributions and Related Disputes:       12.8            4,639.00


Court Hearings
     Tucker, M.                                                              0.1              45.00

     Total for Court Hearings:                                               0.1              45.00


Employment/Fee Applications
     Harvick, C.                                                             0.9             337.50
     Smith, S.                                                               9.5             902.50

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Consultant                                                             Hours                Fees

     Total for Employment/Fee Applications:                              10.4            1,240.00


Financing
     Harvick, C.                                                          0.7              262.50
     Peterson, L.                                                         1.6              472.00
     Tucker, M.                                                           1.0              450.00

     Total for Financing:                                                 3.3            1,184.50


IP/10-90/Ashby Recovery
     Bellazain-Harris, S.                                                 1.0              415.00
     Belt, D.                                                             6.1            2,531.50
     Harvick, C.                                                         22.3            8,362.50
     Peterson, L.                                                        32.5            9,587.50
     Smith, S.                                                            8.5              807.50
     Tucker, M.                                                          39.7           17,865.00

     Total for IP/10-90/Ashby Recovery:                                 110.1           39,569.00


Meetings & Communications with Diversified Committee
     Harvick, C.                                                          7.3            2,737.50
     Tucker, M.                                                          12.9            5,805.00

     Total for Meetings & Communications with Diversified Committee:     20.2            8,542.50


Plan and Other Restructure Related Work
     Belt, D.                                                             2.7            1,120.50
     Harvick, C.                                                         41.7           15,637.50
     Peterson, L.                                                        13.4            3,953.00
     Tucker, M.                                                          40.3           18,135.00

     Total for Plan and Other Restructure Related Work:                  98.1           38,846.00


Grand Total                                                             365.6        $132,761.25




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                              USA Capital Diversified Trust Deed Fund
                                         Summary Exhibit C
                          Detailed Time Charges Incurred by Activity Code
                        For the Period of 10/1/2006 through 10/31/2006
Date      Consultant         Description                                                   Hours        Fees

Asset Analysis and Recovery
10/2/2006 Belt, D.           Review EPIC bankruptcy filing motions regarding                 2.2      913.00
                             lifting of automatic stay filed by USA Commercial
                             Mortgage for relevant dates to EPIC Loan History
                             Report prepared by FTI.

10/2/2006 Harvick, C.        Final review of Sheraton and EPIC Loan History                  3.5     1,312.50
                             Reports, meet with L. Peterson to discuss changes
                             regarding same.

10/2/2006 Peterson, L.       Make C. Harvick's changes and updates to Sheraton               1.1      324.50
                             Hotel Loan History Report.

10/2/2006 Peterson, L.       Discuss with C. Harvick the calculation of interest on          0.1       29.50
                             the Sheraton Loan History Report.

10/2/2006 Peterson, L.       Review information provided by Debtor and other                 3.0      885.00
                             parties primarily as a result of FTI data requests,
                             organize information and prepare support
                             documentation binders for asset recovery and sale
                             efforts, litigation support, financing activities and other
                             restructuring/plan related work.

10/2/2006 Peterson, L.       Finalize EPIC loan schedule and gather support fo all           2.5      737.50
                             activity and create support binder; finalize Sheraton
                             loan schedule and gather support for all activity and
                             create support binder including discussion with C.
                             Harvick.

10/3/2006 Harvick, C.        Discuss Sheraton Loan History Report with M. Tucker.            0.3      112.50

10/3/2006 Harvick, C.        Review of updates to EPIC Loan History Report per               1.3      487.50
                             my final review; discuss with L. Peterson

10/3/2006 Harvick, C.        Participation in conference call with T. Allison, S.            1.2      450.00
                             Strong, C. Harvick, M. Tucker, M. Levinson and J.
                             Hermann regarding issues in connection with recent
                             efforts to obtain repayment of Colt Gateway loans
                             from HFA entities, and regarding numerous related
                             issues in connection with sale of EPIC condominiums.

10/3/2006 Harvick, C.        Finalize Sheraton Loan History Report, send to                  2.3      862.50
                             Mesirow and review with M. Tucker.

10/3/2006 Harvick, C.        Review of Commitment to Issue Title coverage                    0.2       75.00
                             regarding the Marquis Hotel and related e-mail from J.
                             Hermann.

10/3/2006 Peterson, L.       Make C. Harvick and M. Tucker changes and updates               1.4      413.00
                             to EPIC Loan History Report including summary of
                             expenses and comparison to loan balance on
                             Diversified Trust Deed Fund financial statements.
                             Includes discussion with C. Harvick.

10/3/2006 Peterson, L.       Make C. Harvick changes and updates to EPIC Loan                1.5      442.50
                             History Report. Includes discussion with C. Harvick.


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Date      Consultant          Description                                                   Hours        Fees

10/3/2006 Peterson, L.        Make M. Tucker's changes and updates to the                     4.6     1,357.00
                              Sheraton Loan History Report including summary of
                              expenses and comparison to loan balance on
                              Diversified Trust Deed Fund financial statements.

10/3/2006 Peterson, L.        Make C. Harvick's changes and updates to Sheraton               0.6      177.00
                              Hotel Loan History Report.

10/3/2006 Tucker, M.          Discuss Sheraton Loan History Report with C. Harvick.           0.3      135.00

10/3/2006 Tucker, M.          Review Sheraton Loan History with payment activity;             2.2      990.00
                              e-mail same to T. Allison for presentation to J.
                              Milanowski. Discuss with C. Harvick.

10/3/2006 Tucker, M.          Continuation of conference call with T. Allison, S.             1.2      540.00
                              Strong, C. Harvick, M. Levinson and J. Hermann
                              regarding other asset recoveries including Colt,
                              Sheraton and EPIC.

10/4/2006 Harvick, C.         Final review of EPIC Loan History Report and meeting            0.9      337.50
                              with L. Peterson to discuss changes.

10/4/2006 Peterson, L.        Review information provided by Debtor and other                 2.1      619.50
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and sale
                              efforts, litigation support, financing activities and other
                              restructuring/plan related work.

10/4/2006 Peterson, L.        Additional changes and updates to EPIC Loan History             5.4     1,593.00
                              Report including summary of expenses and
                              comparison to loan balance on Diversified Trust Deed
                              Fund financial statements. Includes discussion with C.
                              Harvick.

10/4/2006 Tucker, M.          Conference with M. Levinson and J. Hermann                      0.6      270.00
                              regarding various asset recoveries including EPIC,
                              Sheraton and Colt.

10/5/2006 Bellazain-Harris,   Researching UCC's filings at request of C. Harvick.             1.0      415.00

10/5/2006 Harvick, C.         Review of EPIC Loan History Report, discuss same                0.3      112.50
                              with L. Peterson.

10/5/2006 Peterson, L.        Update EPIC loan principal and interest tracking                2.3      678.50
                              schedule with C. Harvick changes and create two new
                              scenarios, one with no interest accrued after EPIC
                              petition date and one with interest accruing the entire
                              history of the loan. Including discussion with C.
                              Harvick; discuss with P. Cheng.

10/5/2006 Peterson, L.        Prepare EPIC loan reports (3 scenarios) to be sent to           0.4      118.00
                              Mesirow.

10/5/2006 Peterson, L.        Review information provided by Debtor and other                 0.4      118.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and sale
                              efforts, litigation support, financing activities and other
                              restructuring/plan related work.

10/5/2006 Tucker, M.          Review Colt memorandum of understanding signed                  1.1      495.00
                              by HFA and J. Milanowski as well as other analysis of
                              Colt loan.



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Date      Consultant     Description                                                   Hours       Fees

10/6/2006 Harvick, C.    Review of Diversified Trust Deed Fund and USA                   0.5      187.50
                         Commercial Mortgage intercompany transactions and
                         meeting with L. Peterson regarding same.

10/6/2006 Peterson, L.   Update Diversified Trust Deed Fund post-petition                0.6      177.00
                         collections schedule with most current cash collection
                         summaries provided by Mesirow. Includes discussion
                         with C. Harvick.

10/6/2006 Peterson, L.   Gather support documentation for the EPIC and                   1.0      295.00
                         Sheraton Loan History Reports' support binders.

10/6/2006 Peterson, L.   Review information provided by Debtor and other                 1.7      501.50
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

10/8/2006 Tucker, M.     Review documents on Colt loan and plan follow up                0.7      315.00
                         with T. Allison.

10/9/2006 Peterson, L.   Updating schedule calculating the interest on USA               1.8      531.00
                         Commercial Mortgage $18.9 million receivable and
                         gathering support documentation for schedule.

10/10/200 Harvick, C.    Review of Hotel Zoso title report.                              0.2       75.00

10/10/200 Harvick, C.    Review of general ledger data for Diversified Trust             0.3      112.50
                         Deed Fund and USA Commercial Mortgage
                         intercompany detail, meeting with L. Peterson
                         regarding same.

10/10/200 Peterson, L.   Review of general ledger data for Diversified Trust             0.3       88.50
                         Deed Fund and USA Commercial Mortgage
                         intercompany detail, meeting with C. Harvick
                         regarding same.

10/10/200 Peterson, L.   Review USA Commercial Mortgage 2004 audit to                    0.4      118.00
                         compare to Diversified Trust Deed Fund and USA
                         Commercial Mortgage's general ledgers for
                         reconciliation to the USA Commercial Mortgage
                         receivable on Diversified Trust Deed Fund's books.

10/10/200 Peterson, L.   Review information provided by Debtor and other                 1.2      354.00
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and sale
                         efforts, litigation support, financing activities and other
                         restructuring/plan related work.

10/10/200 Peterson, L.   Update loan summary schedules with weekly                       1.3      383.50
                         collections summaries for weeks ending September
                         29, 2006 and October 6, 2006.

10/10/200 Peterson, L.   Prepare schedule offsetting the USA Commercial                  1.2      354.00
                         Mortgage $18.9 million receivable against the
                         servicing and management fees due and interest
                         advances.

10/10/200 Peterson, L.   Review USA Commercial Mortgage general ledgers to               2.0      590.00
                         reconcile the USA Commercial Mortgage receivable
                         on Diversified Trust Deed Fund's general ledger to a
                         payable on USA Commercial Mortgage's financial
                         statements.



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Date      Consultant     Description                                               Hours       Fees

10/10/200 Peterson, L.   Discuss the request for the September 30, 2006 loan         0.1       29.50
                         summary and the final weekly collection summary for
                         September 2006 with C. McClellan.

10/10/200 Tucker, M.     Preliminary review of Marquis title report.                 0.3      135.00

10/11/200 Harvick, C.    Discussion with M. Tucker regarding Diversified Trust       0.2       75.00
                         Deed Fund servicing and management fees.

10/11/200 Harvick, C.    Review of Diversified Trust Deed Fund summary of            1.8      675.00
                         management fees and assets, and review of
                         Diversified Trust Deed Fund financials regarding
                         accrued interest and servicing fees payable. Discuss
                         same with L. Peterson.

10/11/200 Peterson, L.   Review information provided by Debtor and other             0.8      236.00
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

10/11/200 Peterson, L.   Prepare a schedule of the monthly management fees,          1.9      560.50
                         total assets and management fees as a percentage of
                         total assets for Diversified Trust Deed Fund. Including
                         discussion with C. Harvick.

10/11/200 Tucker, M.     Review research by A. Loraditch on offset issues.           0.2       90.00

10/12/200 Harvick, C.    Review of instant message postings by D. Fogg and           1.0      375.00
                         R. Russell for preparation of possible 2004 exams.

10/12/200 Peterson, L.   Prepare schedule offsetting the USA Commercial              0.5      147.50
                         Mortgage $18.9 million receivable against the
                         servicing and management fees due and interest
                         advances.

10/12/200 Peterson, L.   Review information provided by Debtor and other             1.2      354.00
                         parties primarily as a result of FTI data requests,
                         organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

10/13/200 Harvick, C.    Review analysis of Diversified Trust Deed Fund's            0.4      150.00
                         Monthly financial statements.

10/13/200 Harvick, C.    Review of Colt UCC fillings, Hilco Appraisal and loan       2.6      975.00
                         documents; e-mail to Diversified Trust Deed Fund
                         team regarding findings.

10/13/200 Harvick, C.    Review Diversified Trust Deed Fund collection               0.2       75.00
                         summary through October 6, 2006.

10/13/200 Harvick, C.    Review Summary of USA Commercial Mortgage and               0.3      112.50
                         Diversified Trust Deed Fund recovery summary.

10/13/200 Peterson, L.   E-mail and discuss with C. McClellan the requested          0.4      118.00
                         August monthly operating report and iTracks data for
                         Palm Coast and update request list.

10/13/200 Peterson, L.   Update schedule with management fees and total              1.2      354.00
                         assets to reflect interest earned each month and
                         annualized percentage of total assets.




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Date      Consultant          Description                                              Hours       Fees

10/13/200 Peterson, L.        Review information provided by Debtor and other            0.9      265.50
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

10/16/200 Harvick, C.         Review recalculation of Sheraton Loan History Report       0.2       75.00
                              using simple interest.

10/16/200 Harvick, C.         Call with T. Haney of Hilco regarding BySynergy            0.1       37.50
                              appraisal.

10/16/200 Peterson, L.        Prepare a new version of the Sheraton Loan History         1.6      472.00
                              Report using a simple interest calculation rather than
                              a compounding.

10/17/200 Harvick, C.         Review of Colt documents and send e-mail to M. Haftl       0.3      112.50
                              regarding status of recovery.

10/17/200 Peterson, L.        Review Palm Coast Loan History on Diversified Trust        0.3       88.50
                              Deed Fund balance sheets and general ledgers and
                              respond to C. McClellan's e-mail regarding getting FTI
                              the Loan History Report for this loan.

10/17/200 Peterson, L.        Continue review of Palm Coast Loan History on              0.9      265.50
                              Diversified Trust Deed Fund balance sheets and
                              general ledgers.

10/17/200 Peterson, L.        Review information provided by Debtor and other            0.8      236.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

10/18/200 Harvick, C.         Review Diversified Trust Deed Fund's collection            0.5      187.50
                              summary and respond to B. Olson's request.

10/18/200 Peterson, L.        Review information provided by Debtor and other            0.4      118.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

10/18/200 Tucker, M.          Start research on what loans were second liens vs          0.2       90.00
                              first liens for claim issues.

10/18/200 Tucker, M.          Discuss Sheraton loan payoff and Hotel Zoso issues         0.4      180.00
                              with T. Allison and S. Smith.

10/19/200 Bellazain-Harris,   Research (run Dunn and Bradstreet Reports, etc.) per       0.5      207.50
                              C. Harvick.

10/19/200 Tucker, M.          Review summary of collection account information.          0.2       90.00

10/20/200 Peterson, L.        Review information provided by Debtor and other            0.8      236.00
                              parties primarily as a result of FTI data requests,
                              organize information and prepare support
                              documentation binders for asset recovery and other
                              restructuring/plan related work.

10/20/200 Peterson, L.        Update Diversified Trust Deed Fund post-petition           0.3       88.50
                              collections schedule with the week ending October
                              13, 2006 cash collection summary provided by
                              Mesirow.



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Date         Consultant       Description                                               Hours       Fees

10/23/200 Harvick, C.         Review e-mails regarding Colt and BySynergy                 0.1       37.50
                              collections

10/23/200 Tucker, M.          Conference with T. Allison, A. Jarvis, M. Levinson and      1.0      450.00
                              J. Hermann regarding strategy of collecting the
                              Sheraton amounts owed.

10/24/200 Peterson, L.        Review information provided by Debtor, organize             1.0      295.00
                              information and prepare support documentation
                              binders for asset recovery and other restructuring/plan
                              related work.

10/24/200 Peterson, L.        Update schedule of loan collections and update              0.6      177.00
                              summary of Diversified Trust Deed Fund's monthly
                              operating report schedule with September monthly
                              operating report.

10/24/200 Tucker, M.          Review September loan listing.                              0.2       90.00

10/25/200 Harvick, C.         Follow-up with Mesirow regarding BySynergy                  0.2       75.00
                              status/collections.

10/30/200 Peterson, L.        Compare Diversified Trust Deed Fund loan recovery           1.9      560.50
                              schedule to T. Burr recovery amounts.

10/31/200 Harvick, C.         Prepare recovery summary of Diversified Trust Deed          0.5      187.50
                              Fund loans for Diversified Trust Deed Fund
                              Committee call.

10/31/200 Harvick, C.         Exchange numerous e-mails with M. Haftl and A.              0.2       75.00
                              Stevens regarding the status of collecting on
                              Diversified Trust Deed Fund loans.

10/31/200 Harvick, C.         Review cash collection report through October 20,           0.1       37.50
                              2006.

Total for Asset Analysis and Recovery:                                                   84.5   28,280.50

Asset Sale
10/3/2006 Tucker, M.          Review and respond to e-mail from A. Loraditch              0.1       45.00
                              regarding California Mortgage and Realty Letter of
                              Intent.

10/3/2006 Tucker, M.          Discussion with J. Reed regarding California                0.3      135.00
                              Mortgage and Realty Letter of Intent and Debtor call
                              with California Mortgage and Realty.

10/4/2006 Harvick, C.         Review California Mortgage and Realty Letter of Intent.     0.8      300.00

10/4/2006 Harvick, C.         Prepare for and participate in call with M. Tucker, A.      0.6      225.00
                              Loraditch, and B. Olsen regarding the California
                              Mortgage and Realty Letter of Intent.

10/4/2006 Harvick, C.         Participate in call with Diversified Trust Deed Fund        1.1      412.50
                              professionals and Debtor regarding California
                              Mortgage and Realty Letter of Intent and T. Allison's
                              meeting with J. Milanowski.

10/4/2006 Tucker, M.          Review California Mortgage and Realty Letter of Intent      1.2      540.00
                              and discuss with B. Olson, A. Lordaditch and C.
                              Harvick.




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Date      Consultant     Description                                                  Hours       Fees

10/4/2006 Tucker, M.     Participate in call with T. Allison, S. Strong, A. Jarvis,     1.1      495.00
                         B. Fasel, A. Loraditch, C. Harvick and B. Olson
                         regarding Letter of Intent from California Mortgage
                         and Realty and next steps.

10/4/2006 Tucker, M.     Conference with M. Levinson regarding potential sale           0.3      135.00
                         of Diversified Trust Deed Fund assets.

10/5/2006 Tucker, M.     Participate in conference call with B. Fasel, T. Burr          0.5      225.00
                         and M. Kvarda regarding status of Silverpoint
                         diligence and sale process.

10/5/2006 Tucker, M.     Review Letter of Intent from California Mortgage and           0.6      270.00
                         Realty and draft summary for Committee.

10/6/2006 Peterson, L.   Review and document the Apollo and California                  0.3       88.50
                         Mortgage and Realty letter to Allison outlining the
                         terms to purchase Diversified Trust Deed Fund's
                         assets.

10/9/2006 Tucker, M.     Review Capital Crossings Bank qualifications for               0.3      135.00
                         bidding, including potentially Diversified Trust Deed
                         Fund assets.

10/10/200 Harvick, C.    Review of Silverpoint Asset Purchase Agreement and             1.5      562.50
                         Diversified Trust Deed Fund loan servicing
                         agreement; call with M. Tucker regarding same and
                         call with M. Levinson regarding same.

10/10/200 Harvick, C.    Meeting with Debtor and all Committee professionals            0.4      150.00
                         regarding the Silverpoint Asset Purchase Agreement.

10/10/200 Tucker, M.     Draft e-mails to B. Fassel regarding meeting with              0.5      225.00
                         California Mortgage and Realty and Capital Crossings
                         after receipt of changes in Ashby USA operating
                         agreement; discuss same with B. Fassel and J. Reed.

10/10/200 Tucker, M.     Review Silverpoint Asset Purchase Agreement and                0.5      225.00
                         discuss with C. Harvick.

10/10/200 Tucker, M.     Coordinate meeting with California Mortgage and                0.4      180.00
                         Realty and Capital Crossings.

10/11/200 Harvick, C.    Participate in call with California Mortgage                   1.2      450.00
                         Realty/Apollo regarding purchase of Diversified Trust
                         Deed Fund assets.

10/11/200 Peterson, L.   Prepare schedules of Diversified Trust Deed Fund               0.3       88.50
                         loan detail to be provided to California Mortgage and
                         Realty and used in discussion with them.

10/11/200 Tucker, M.     Prepare for and participate in conference call with J.         1.8      810.00
                         Reed and California Mortgage and Realty regarding
                         Diversified Trust Deed Fund assets and potential sale.

10/12/200 Tucker, M.     Review revised Silverpoint APA and participants in             1.1      495.00
                         conference call with Debtor regarding same.

10/16/200 Harvick, C.    Coordinate call with Capital Crossing and Mesirow;             0.2       75.00
                         call with J. Reed regarding same.

10/18/200 Harvick, C.    Prepare for and participate in call with Compass; send         1.1      412.50
                         follow-up e-mail to Diversified Trust Deed Fund
                         professionals.



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Date       Consultant            Description                                                Hours       Fees

10/18/200 Harvick, C.            Review California Mortgage and Realty document               0.9      337.50
                                 request list and prepare for call with Capital Crossing.

10/18/200 Harvick, C.            Call with J. Reed and B. Fassel regarding the                0.3      112.50
                                 California Mortgage and Realty data request and
                                 strategy moving forward.

10/23/200 Harvick, C.            Review and edit M. Tucker Declaration for support of         0.8      281.25
                                 the sale and bid procedures.

10/23/200 Tucker, M.             Review and revise affidavit for support of SPSC group        1.5      675.00
                                 bidding procedures and auction.

10/24/200 Harvick, C.            Review California Mortgage and Realty data request           0.4      150.00
                                 response drafted by Mesirow; e-mail response to J.
                                 Reed.

Total for Asset Sale:                                                                        20.1    8,235.75

Case Administration
10/9/2006 Harvick, C.            Review of Diversified Trust Deed Fund - Tschopik             0.2       75.00
                                 lawsuit.

10/9/2006 Tucker, M.             Discuss strategy and workplan with C. Harvick.               0.2       90.00

10/11/200 Tucker, M.             Participate in call with T. Allison, A. Jarvis, J.           1.8      810.00
                                 Hermann, M. Levinson.

10/12/200 Harvick, C.            Review court filings and case docket.                        0.6      225.00

10/16/200 Harvick, C.            Discuss tasks to complete with L. Peterson.                  0.2       75.00

10/16/200 Peterson, L.           Discussion with C. Harvick regarding tasks to                0.2       59.00
                                 complete.

10/20/200 Tucker, M.             Review objections to distribution to USA REC                 0.1       45.00

10/23/200 Harvick, C.            Review e-mails regarding data request and status of          0.2       75.00
                                 task list.

10/24/200 Tucker, M.             Review motion to convert to Chapter 7 by US trustee.         0.2       90.00

10/26/200 Smith, S.              Obtain and organize legal filings for Administrative         1.0       95.00
                                 binder.

Total for Case Administration:                                                                4.7    1,639.00

Claims Administration and Objections
10/9/2006 Harvick, C.            Call with M. Levinson regarding Quinney Fee                  0.1       37.50
                                 Allocation.

10/9/2006 Harvick, C.            Call with M. Levinson, T. Jarvis, F. Merola and J.           0.5      187.50
                                 Garmen regarding the order approving first fee
                                 application of Quinney.

10/9/2006 Tucker, M.             Review draft order on Ray Quinney profit fees and            0.3      135.00
                                 related allocations.

10/18/200 Tucker, M.             Review e-mails and pleadings by Highland Capital on          0.2       90.00
                                 Diversified Trust Deed Fund claim objection.




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Date       Consultant         Description                                               Hours       Fees

10/19/200 Tucker, M.          Review e-mail on results of objection to Highland           0.2       90.00
                              Capital Claim.

Total for Claims Administration and Objections:                                           1.3      540.00

Collection Account Distributions and Related Disputes
10/2/2006 Belt, D.            Review update to Diverted Principal list and match to       1.2      498.00
                              prior correspondence from Mesirow regarding
                              principal owed to direct lenders.

10/3/2006 Belt, D.            Call with S. Smith regarding updated "Principal Owed        1.8      747.00
                              to Direct Lenders List" and follow up review of Daily
                              Collection Account Balance schedule to identify
                              additional March principal added to schedule.

10/9/2006 Belt, D.            Call with S. Smith regarding pre-petition cash and co-      0.2       83.00
                              mingling issues.

10/12/200 Harvick, C.         Call with J. Reed regarding interim distribution detail     0.2       75.00
                              and e-mail regarding same.

10/12/200 Harvick, C.         Review interim distribution detail provided by Mesirow      0.8      300.00
                              and discuss with L. Peterson.

10/12/200 Peterson, L.        Review July and August interim distribution schedule        4.0    1,180.00
                              provided by Debtor and compare to loan summary
                              reports and weekly cash collections summaries.
                              Including discussion with C. Harvick.

10/13/200 Harvick, C.         Investigate Diversified Trust Deed Fund loans listed        0.2       75.00
                              on the holdfunds report.

10/16/200 Harvick, C.         Participate in call with Committee financial advisors       0.7      262.50
                              and S. Smith regarding the holdfunds report and the
                              next interim distribution.

10/16/200 Peterson, L.        Update July and August interim distribution schedule        0.3       88.50
                              for Diversified Trust Deed Fund with C. Harvick's
                              changes.

10/17/200 Belt, D.            Review July/August disbursement report and compare          0.8      332.00
                              to held principal listing.

10/17/200 Harvick, C.         Send e-mail to S. Smith regarding holdfunds report.         0.1       37.50

10/17/200 Harvick, C.         Discuss Diversified Trust Deed Fund holdfunds               0.2       75.00
                              activity report with L. Peterson.

10/17/200 Harvick, C.         Call with T. Burr regarding holdfunds report.               0.2       75.00

10/17/200 Harvick, C.         Participate in call with S. Smith regarding holdfunds       0.3      112.50
                              report.

10/17/200 Peterson, L.        Discussion with C. Harvick regarding the July/August        0.1       29.50
                              distribution schedule and how it reconciles with the
                              collections in July/August.

10/18/200 Harvick, C.         Discuss distribution motion with M. Tucker.                 0.1       37.50

10/18/200 Harvick, C.         Final review of holdfunds report and prepare e-mail to      0.8      300.00
                              Diversified Trust Deed Fund professionals
                              summarizing the results.




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Date        Consultant         Description                                            Hours       Fees

10/18/200 Tucker, M.           Discussion with S. Smith on distribution motion and      0.2       90.00
                               discuss same with C. Harvick; review summary of
                               distributions.

10/19/200 Belt, D.             Review co-mingling analysis and identify amount of       0.4      166.00
                               cash FTI supports as retained by estate.

10/19/200 Harvick, C.          Review summary of collection account funds provided      0.2       75.00
                               by S. Smith, forward to M. Kavarda and send
                               summary to M. Tucker.

Total for Collection Account Distributions and Related Disputes:                       12.8    4,639.00

Court Hearings
10/18/200 Tucker, M.           Review agenda for October 19 hearing.                    0.1       45.00

Total for Court Hearings:                                                               0.1       45.00

Employment/Fee Applications
10/6/2006 Smith, S.            Review time and prepare September monthly                0.5       47.50
                               statement.

10/13/200 Smith, S.            Continue to review time and prepare September            3.8      356.25
                               monthly statement.

10/17/200 Smith, S.            Continue to review time and prepare September            1.5      142.50
                               monthly statement.

10/18/200 Smith, S.            Continue to review time and prepare September            1.3      118.75
                               monthly statement.

10/19/200 Smith, S.            Complete corrections to time entries, printout for       2.5      237.50
                               professional review; format expense entries for
                               September.

10/31/200 Harvick, C.          Review of September FTI time detail.                     0.9      337.50


Total for Employment/Fee Applications:                                                 10.4    1,240.00

Financing
10/10/200 Harvick, C.          Review past budget and meet with L. Peterson to          0.1       37.50
                               prepare updated budget.

10/10/200 Peterson, L.         Prepare budget of FTI's professional fees for            0.8      236.00
                               November and December 2006. Discuss with C.
                               Harvick.

10/11/200 Harvick, C.          Review FTI Budget and prepare e-mail to M. Tucker.       0.2       75.00

10/11/200 Peterson, L.         Update budget of FTI's professional fees for             0.6      177.00
                               November and December 2006 to include January
                               2007 and last two weeks of October 2006 and C.
                               Harvick's changes.

10/17/200 Harvick, C.          Review updated Diversified Trust Deed Fund data          0.4      150.00
                               request and September monthly operating report.

10/17/200 Peterson, L.         Call and e-mail C. McClellan regarding access to the     0.2       59.00
                               monthly operating reports from the BMC website.

10/20/200 Tucker, M.           Review September monthly operating report.               0.1       45.00


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Date       Consultant         Description                                               Hours       Fees

10/20/200 Tucker, M.          Review revised operating budget.                            0.4      180.00

10/27/200 Tucker, M.          Review First Trust Deed Fund objection to cash              0.5      225.00
                              budget and Debtor reply; draft e-mail to counsel on
                              same.

Total for Financing:                                                                      3.3    1,184.50

IP/10-90/Ashby Recovery
10/2/2006 Belt, D.            Discuss $58 million Investment Partners accounts            0.3      124.50
                              receivable with C. Harvick.

10/2/2006 Harvick, C.         Meet with D. Belt to discuss the detail of the $58          0.3      112.50
                              million Investment Partners accounts receivable.

10/2/2006 Peterson, L.        Compare list (prepared by R. Quinney) of J.                 1.3      383.50
                              Milanowski and T. Hantges entities to database FTI
                              had prepared of Investment Partners related entities
                              from two previous entity organizational charts. Update
                              FTI database with new entities.

10/3/2006 Belt, D.            Prepare journal entry analysis to identify potential        0.7      290.50
                              double entry of diverted funds in accounts receivable -
                              Investment Partners account and separate accounts
                              receivable.

10/3/2006 Harvick, C.         Participation in conference call with T. Allison, S.        1.0      375.00
                              Strong, C. Harvick, M. Tucker, M. Levinson and J.
                              Hermann regarding issues in connection with closing
                              of escrow for sale of Royal Hotel and efforts to ensure
                              that seller's proceeds are paid to Debtors; regarding
                              issues in connection with the closing of the Hotel
                              Zoso and similar efforts to ensure that seller's
                              proceeds are paid to Debtors; regarding ongoing
                              efforts to obtain documents and information pertaining
                              to Investment Partners from Ashby companies.

10/3/2006 Tucker, M.          Conference with M. Levinson and J. Hermann                  0.6      270.00
                              regarding HMA Sales planned sale of Royal Hotel
                              which is collateral to Investment Partners debts.

10/3/2006 Tucker, M.          Participate in conference call with T. Allison, S.          1.4      630.00
                              Strong, C. Harvick, M. Levinson and J. Hermann
                              regarding status of 10-90 loan recoveries and Ashby
                              property status.

10/4/2006 Bellazain-Harris,   Performing company research (run Dunn and                   1.0      415.00
                              Bradstreet Reports, etc.) at request of C. Harvick.

10/4/2006 Harvick, C.         Request Dunn and Bradstreet reports of Investment           0.1       37.50
                              Partners, research addresses for purpose of finding
                              Investment Partners in Dunn and Bradstreet database.

10/4/2006 Harvick, C.         Review of Stoneridge and OakValley notes and loan           0.2       75.00
                              agreements to determine who is on the hook for the
                              interest payments.

10/4/2006 Harvick, C.         Review Diversified Trust Deed Fund document                 0.2       75.00
                              request list and call with J. Reed regarding status of
                              producing documents and available Investment
                              Partners documents.




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Date      Consultant     Description                                                  Hours       Fees

10/4/2006 Peterson, L.   Review loan documents for Oakvalley and Stoneridge             0.9      265.50
                         loans to understand the specifics on how the interest
                         will be paid, i.e. the borrower will pay or J. Milanowski;
                         e-mail M. Tucker.

10/4/2006 Tucker, M.     Continuation of call with M. Levinson and J. Hermann           0.5      225.00
                         regarding Investment Partners and Ashby entities and
                         meeting of Ashby with Ohio Savings bank.

10/5/2006 Harvick, C.    Review UCC filing report ran for Investment Partners           0.4      150.00
                         follow-up with S. Bellazain-Harris to run full reports.

10/5/2006 Harvick, C.    Review of Investment Partners general ledger data              0.7      262.50
                         provided by Mesirow, participate in call with P. Cheng
                         regarding status of 10-90 tracing and Investment
                         Partners general ledger data.

10/5/2006 Harvick, C.    Call with M. Tucker, M. Levinson and J. Hermann                2.1      787.50
                         regarding Colt collection efforts, dealings with J.
                         Milanowski, 10-90/Investment Partners issues and
                         allocation of fees.

10/5/2006 Peterson, L.   Prepare schedule detailing the Investment Partners             2.5      737.50
                         receivable of $1million which Diversified Trust Deed
                         Fund has on its books, including when the funding
                         occurred, support for the funding and a calculation of
                         interest outstanding.

10/5/2006 Peterson, L.   Review UCC filings of Investment Partners and                  0.6      177.00
                         search on Factiva for Investment Partners related
                         documents or articles.

10/5/2006 Tucker, M.     Review e-mail from T. Lawyer with proposal from J.             0.2       90.00
                         Milanowski.

10/5/2006 Tucker, M.     Research accounting issues on Investment Partners'             1.2      540.00
                         $58 million loans and overpayment of interest.

10/8/2006 Tucker, M.     Review various e-mails on Ashby and J. Milanowski              0.8      360.00
                         asset recovery and discussions that were held with R.
                         Walker.

10/9/2006 Belt, D.       Review accounts receivable - Investment Partners               0.5      207.50
                         general ledger activity analysis with M. Tucker and C.
                         Harvick.

10/9/2006 Harvick, C.    Review e-mails regarding Ashby/Investment Partners             0.2       75.00
                         deal and updates.

10/9/2006 Harvick, C.    Call with P. McNicholas regarding Roripaugh and                0.3      112.50
                         company request list and status; follow-up call with P.
                         Cheng.

10/9/2006 Harvick, C.    Call with H. Mayrhofer, Roripaugh controller,                  0.2       75.00
                         requesting documents.

10/9/2006 Harvick, C.    Prepare for and meet with D. Belt and M. Tucker                0.7      262.50
                         regarding the detail of the $58 million accounts
                         receivable from Investment Partners.

10/9/2006 Harvick, C.    Participate in call with T. Burr regarding Investment          0.2       75.00
                         Partners meeting; e-mail regarding same.

10/9/2006 Tucker, M.     Read letter from Walker to Ashby counsel to release            0.1       45.00
                         Ashby documents.


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Date      Consultant     Description                                              Hours       Fees

10/9/2006 Tucker, M.     Analysis of detail accounting for $58 million accounts     2.1      945.00
                         receivable from Investment Partners and relationship
                         to Diversified Trust Deed Fund. Discuss with D. Belt
                         and C. Harvick.

10/9/2006 Tucker, M.     Review various e-mails on HMA Sales on sale                0.4      180.00
                         process, estimated proceeds, and distribution issues.

10/10/200 Belt, D.       Refine FTI analysis of accounts receivable -               1.7      705.50
                         Investment Partners account and prepare document
                         request list related to investigation of $58 million
                         receivable from Investment Paratners.

10/10/200 Harvick, C.    Call with P. Cheng to discuss the 10-90 tracing            0.3      112.50
                         exercise.

10/10/200 Harvick, C.    Review of amendment to operating agreement of              0.4      150.00
                         Ashby USA.

10/10/200 Harvick, C.    Review of Royal Hotel settlement statement.                0.2       75.00

10/10/200 Harvick, C.    Discuss 19-90 tracing with M. Tucker.                      0.2       75.00

10/10/200 Peterson, L.   Complete schedule detailing the Investment Partners        0.5      147.50
                         receivable of $1million and a calculation of interest
                         outstanding and gather support documentation.

10/10/200 Tucker, M.     Conference with M. Levinson and J. Hermann                 1.5      675.00
                         regarding Investment Partners collection issues and
                         Ashby USA membership interest operating agreement
                         changes signed by Investment Partners.

10/10/200 Tucker, M.     Discuss 10-90 tracing with C. Harvick.                     0.2       90.00

10/10/200 Tucker, M.     Conference with A. Jarvis, M. Levinson and J.              0.3      135.00
                         Hermann regarding Investment Partners issues.

10/10/200 Tucker, M.     Place call to T. Allison regarding Investment Partners     0.1       45.00
                         issues.

10/10/200 Tucker, M.     Follow up call with M. Levinson and J. Hermann to          0.3      135.00
                         group call on Investment Partners next steps.

10/10/200 Tucker, M.     Preliminary review of Royal Hotel closing statement;       0.6      270.00
                         compare to information previously provided by J.
                         Milanowski.

10/10/200 Tucker, M.     Conference with R. Charles, A. Jarvis, J. Atkinson, S.     0.9      405.00
                         Smith, J. Hermann and M. Levinson regarding next
                         steps with Investment Partners and loan recovery.

10/11/200 Harvick, C.    Review of Summary of Recovery for 10-90 and                0.3      112.50
                         Investment Partners' $58 million.

10/11/200 Harvick, C.    Participate in call with Diversified Trust Deed Fund       1.8      675.00
                         and Unsecured Creditors Committee professionals
                         and the Debtor with counsel to discuss J. Milanowski
                         activity, ramifications and strategy moving forward
                         given recent developments.

10/11/200 Harvick, C.    Review of 10-90 tracing deliverable and Investment         0.8      300.00
                         Partners documents.




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Date      Consultant     Description                                                  Hours       Fees

10/11/200 Peterson, L.   Make C. Harvick changes to summary schedule of                 0.8      236.00
                         entity interests securing 10-90 loan and other loans
                         secured by property these entities own.

10/11/200 Peterson, L.   Prepare summary schedule of entity interests                   1.7      501.50
                         securing 10-90 loan and other loans secured by
                         property these entities own.

10/11/200 Peterson, L.   Update Investment Partners entity database and                 2.2      649.00
                         Potential 2004 Recipient schedule with new
                         information from UCC filings and organizational charts.

10/11/200 Tucker, M.     Conference with M. Levinson and J. Hermann                     0.6      270.00
                         regarding 10-90/Investment Partners issues and
                         strategy.

10/11/200 Tucker, M.     Review uses of $55 million 10-90 loan proceeds                 0.8      360.00
                         provided by Mesirow.

10/12/200 Harvick, C.    Call J. Atkinson regarding available Investment                0.1       37.50
                         Partners documents.

10/12/200 Tucker, M.     Conference with A. Jarvis, M. Levinson and J.                  0.5      225.00
                         Hermann regarding issues with Investment Partners;
                         follow up discussion with J. Hermann and M. Levinson.

10/13/200 Harvick, C.    Review Stoneridge documents.                                   0.4      150.00

10/13/200 Peterson, L.   Review Google USA investor chat room for new                   2.2      649.00
                         postings by Fogg or Russell since August 20th or
                         other postings regarding Milanowski or Hantges.

10/15/200 Tucker, M.     Review and respond to numerous e-mails on                      0.2       90.00
                         coordinating a conference call with Debtors regarding
                         Investment Partners issues.

10/15/200 Tucker, M.     Participate in conference call with T. Allison, A. Jarvis,     1.5      675.00
                         S. Strong, J. Hermann and M. Levinson regarding
                         Investment Partners issues and pending property
                         sales.

10/16/200 Harvick, C.    Review Investment Partners financial statements and            1.0      375.00
                         draft e-mail regarding findings to M. Tucker.

10/16/200 Peterson, L.   Prepare a 2004 Subpoena for D. Fogg based on                   0.9      265.50
                         review of loan documents, documents provided by
                         Fogg, and from the Google investor chat room.

10/16/200 Peterson, L.   Review Investment Partners financial statements sent           0.8      221.25
                         by J. Hermann and organize support documentation
                         binder.

10/16/200 Tucker, M.     Review of Investment Partners financial statements             1.8      810.00
                         and operations and research various Investment
                         Partners investments.

10/16/200 Tucker, M.     Conference with A. Jarvis, M. Levinson and J.                  0.2       90.00
                         Hermann regarding discussions by Allison with J.
                         Milanowski.

10/16/200 Tucker, M.     Conference with T. Allison, A. Jarvis, M. Levinson and         0.7      315.00
                         J. Hermann regarding negotiations with J. Milanowski;
                         and Investment Partners issues.




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Date      Consultant     Description                                                 Hours       Fees

10/17/200 Belt, D.       Review Investment Partners general ledger activity            0.7      290.50
                         schedule; discuss same with C. Harvick and L.
                         Peterson.

10/17/200 Harvick, C.    Review e-mail from J. Atkinson on Investment                  0.2       75.00
                         Partners issues and send to M. Tucker and Orrick.

10/17/200 Harvick, C.    Review City of Temecula bond meeting website.                 0.2       75.00

10/17/200 Harvick, C.    Review of Investment Partners general ledger detail           1.1      412.50
                         and discuss with D. Belt and L. Peterson.

10/17/200 Harvick, C.    Participate in call (part) with T. Allison, A. Jarvis, R.     0.2       75.00
                         Charles and M. Levinson regarding Investment
                         Partners.

10/17/200 Harvick, C.    Review e-mail regarding Investment Partners                   0.3      112.50
                         documents sent by J. Hermann, send e-mail to
                         Mesirow regarding status of available Investment
                         Partners documents for review.

10/17/200 Peterson, L.   Prepare a 2004 Subpoena for D. Fogg based on                  1.4      413.00
                         review of loan documents, documents provided by
                         Fogg, and from the Google investor chat room.

10/17/200 Peterson, L.   Make C. Harvick's changes to schedule of the interest         1.4      398.25
                         calculation on the Diversified Trust Deed Fund's
                         $1million Investment Partners receivable.

10/17/200 Peterson, L.   Update Investment Partner entity database with date           1.8      531.00
                         incorporated and purpose of entity from org chart
                         provided by Ray Quinney.

10/17/200 Peterson, L.   Discussion with C. Harvick and D. Belt regarding the          0.3       88.50
                         reconciliation of the USA Commercial Mortgage's $58
                         million Investment Partners receivable to Investment
                         Partners cash account in 2003 and 2004.

10/18/200 Belt, D.       Perform matching analysis comparing accounts                  2.2      913.00
                         receivable - Investment Partners account per USA
                         Commercial Mortgage books to 2004 general ledger
                         activity from Investment Partners cash account.

10/18/200 Harvick, C.    Prepare e-mail to M. Tucker regarding Investment              0.2       75.00
                         Partners involuntary option and potential allies.

10/18/200 Harvick, C.    Review analysis of Investment Partners recovery for           0.2       75.00
                         10-90 and Investment Partners.

10/18/200 Harvick, C.    Call with M. Tucker regarding Investment Partners             0.2       75.00
                         budget for Hotel Zoso proceeds and search for more
                         information on Twelve Horses.

10/18/200 Harvick, C.    Analysis of Investment Partners general ledger and            0.4      150.00
                         meet with L. Peterson to discuss next steps.

10/18/200 Harvick, C.    Review Royal Hotel and Hotel Zoso escrow                      0.2       75.00
                         instructions prepared by J. Hermann.

10/18/200 Peterson, L.   Meet with C. Harvick to discuss the next steps after          0.2       59.00
                         his review of Investment Partners general ledger.

10/18/200 Peterson, L.   Prepare schedule of the 2003 and 2004 cash account            7.3    2,153.50
                         activity for Investment Partners based on general
                         ledger detail.


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Date      Consultant     Description                                             Hours       Fees

10/18/200 Tucker, M.     Non working travel to Phoenix from meeting with J.        2.7    1,215.00
                         Milanowski.

10/18/200 Tucker, M.     Call with C. Harvick regarding Investment Partners        0.2       90.00
                         budget for Hotel Zoso proceeds.

10/18/200 Tucker, M.     Review Investment Partners' assignment documents          0.6      270.00
                         related to Ashby USA and issues related to two $4.25
                         million loans Investment Partners made to Ashby USA.

10/18/200 Tucker, M.     Meet with J. Milanowski and his counsel with J.           2.7    1,215.00
                         Hermann, T. Allison, A. Jarvis and J. Atkinson
                         regarding Investment Partners settlement and
                         payment issues.

10/18/200 Tucker, M.     Preparation for meeting with J. Milanowski including      2.9    1,305.00
                         meeting with T. Allison, J. Atkinson and J. Hermann.

10/18/200 Tucker, M.     Non working travel to Las Vegas to meet with J.           2.7    1,215.00
                         Milanowski.

10/19/200 Harvick, C.    Review Amendment to Operating Agreement of Ashby          0.1       37.50
                         USA.

10/19/200 Harvick, C.    Review of e-mails regarding meeting with J.               0.4      150.00
                         Milanowski, follow-up items and Investment Partners
                         documents from UCC.

10/19/200 Harvick, C.    Review Investment Partners loan documents to Ashby        1.5      562.50
                         USA, Ashby transaction detail and audited financials;
                         prepare summary e-mail and send documents to
                         Orrick.

10/19/200 Peterson, L.   Continue to prepare schedule of the 2003 and 2004         1.7      501.50
                         cash account activity for Investment Partners based
                         on general ledger detail.

10/19/200 Peterson, L.   Continue to review information provided by Debtor         0.7      206.50
                         and other parties primarily regarding Investment
                         Partners, organize information and prepare support
                         documentation binders for asset recovery and other
                         restructuring/plan related work.

10/19/200 Tucker, M.     Review Investment Partners documents and e-mail           1.0      450.00
                         from C. Harvick regarding Ashby loan to Investment
                         Partners.

10/19/200 Tucker, M.     Preliminary review of Investment Partners documents       0.3      135.00
                         received from Lewis and Roca and discuss prepaying
                         a summary with staff.

10/20/200 Harvick, C.    Review of e-mails regarding Ohio Bank and                 0.2       75.00
                         Roripaugh and Stoneridge Agreement.

10/20/200 Peterson, L.   Review information provided by Debtor regarding           1.6      472.00
                         Investment Partners, organize information and
                         prepare support documentation binders for asset
                         recovery and other restructuring/plan related work.

10/20/200 Tucker, M.     Review e-mails on Investment Partners term sheet          0.1       45.00
                         issues.

10/20/200 Tucker, M.     Follow up issues on Investment Partners loan to           0.2       90.00
                         Ashby USA and reassignment to Diversified Trust
                         Deed Fund.


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Date      Consultant     Description                                               Hours       Fees

10/20/200 Tucker, M.     Review Investment Partners documents and draft e-           0.7      315.00
                         mail to R. Charles regarding index.

10/20/200 Tucker, M.     Participate in conference call with M. Levinson and J.      1.4      630.00
                         Hermann regarding Investment Partners issues and
                         settlements.

10/21/200 Tucker, M.     Review amended Capital Land operating agreement             2.1      945.00
                         planned to be signed by J. Milanowski; draft e-mail on
                         same to Diversified Trust Deed Fund team and issues
                         with Investment Partners potential term sheet.

10/23/200 Harvick, C.    Prepare for and participate in conference call              1.3      487.50
                         regarding Investment Partners and payoff of Marquis
                         Hotel.

10/23/200 Harvick, C.    Review of e-mails regarding OhioBank and Roripaugh          0.3      112.50
                         and Stoneridge Agreement.

10/23/200 Harvick, C.    Review e-mails regarding Investment Partners and J.         0.2       75.00
                         Milanowski.

10/23/200 Smith, S.      Obtain and begin organization and preparation of            3.5      332.50
                         index of Bates numbered documents provided by
                         Lewis and Roca regarding J. Milanowski and T.
                         Hantges financial data.

10/23/200 Tucker, M.     Conference with M. Levinson and J. Hermann                  0.4      180.00
                         regarding new documents to be signed by J.
                         Milanowski and Investment Partners collection issues.

10/24/200 Peterson, L.   Review information provided by D. Walker regarding          0.4      118.00
                         Investment Partners, organize information and
                         prepare support documentation binders.

10/24/200 Smith, S.      Complete organization and preparation of index of           5.0      475.00
                         Bates numbered documents provided by Lewis and
                         Roca regarding J. Milanowski and T. Hantges
                         financial documents.

10/25/200 Harvick, C.    Review of Tanamera pledged entity collateral and            0.4      150.00
                         obligations for the Investment Partners note, follow-up
                         with Debtor on status of monitoring assets pledged.

10/25/200 Peterson, L.   Review documents regarding Cabernet loan and                1.4      413.00
                         Tanamera Properties and provide M. Tucker an e-mail
                         regarding which documents FTI has received.

10/25/200 Tucker, M.     Review Stoneridge deal from Ashby.                          0.3      135.00

10/26/200 Tucker, M.     Conference with T. Allison, A. Jarvis, M. Levinson and      1.2      540.00
                         J. Hermann regarding Investment Partners issues,
                         Ashby offer on Stoneridge and Investment Partners
                         signing second lien on Stoneridge for Ohio Bank.

10/26/200 Tucker, M.     Review various e-mails from A. Jarvis, M. Levinson, J.      0.4      180.00
                         Hermann and attachments on Investment Partners
                         issues.

10/27/200 Tucker, M.     Participate in conference call with Ashby and Redman        1.0      450.00
                         regarding issues on Roripaugh and second lien on
                         Stoneridge.




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Date      Consultant         Description                                                 Hours       Fees

10/29/200 Tucker, M.         Conference with J. Hermann and M. Levinson                    0.3      135.00
                             regarding conference call with Ashby and T. Allison
                             regarding Stoneridge and Investment Partners issues.

10/30/200 Harvick, C.        Review multiple e-mails regarding the activity of J.          0.3      112.50
                             Milanowski, Investment Partners recovery and steps
                             moving forward to recover from Investment Partners
                             and to protect the collateral pledged to USA
                             Commercial Mortgage and Diversified Trust Deed
                             Fund.

10/31/200 Harvick, C.        Review of Investment Partners documents provided              0.7      262.50
                             by Lewis and Roca.

10/31/200 Harvick, C.        Review and modify Investment Partners document                0.4      150.00
                             index to send to UCC and Diversified Trust Deed
                             Fund.

10/31/200 Harvick, C.        Participate in conference call with T. Allison, S. Smith,     1.0      375.00
                             S. Strong, M. Levinson and M. Tucker regarding
                             status of dealing with Investment Partners and action
                             steps.

10/31/200 Harvick, C.        Review various e-mails regarding the escrow/security          0.1       37.50
                             agreements sent to J. Milanowski, print agreements.

10/31/200 Harvick, C.        Review Ten Ninety LTD and Fiesta Development loan             0.1       37.50
                             documents to confirm the maturity dates.

10/31/200 Tucker, M.         Participate in conference call with T. Allison, S. Smith,     1.0      450.00
                             S. Strong, M. Levinson and M. Tucker regarding
                             status of dealing with Investment Partners and action
                             steps.

Total for IP/10-90/Ashby Recovery:                                                       110.1   39,569.00

Meetings & Communications with Diversified Committee
10/4/2006 Harvick, C.        Respond to Diversified Trust Deed Fund investor               0.1       37.50
                             inquiry regarding Diversified Trust Deed Fund audited
                             financial statements.

10/4/2006 Harvick, C.        Review letter from Diversified Trust Deed Fund                0.6      225.00
                             Committee to Diversified Trust Deed Fund members
                             and e-mail comments to M. Tucker.

10/4/2006 Tucker, M.         Review letter to Committee.                                   0.4      180.00

10/5/2006 Tucker, M.         Conference with M. Levinson, J. Hermann, C. Harvick           2.1      945.00
                             in preparation for Committee meeting including review
                             of recovery status, plan status and proposed
                             strategies and next steps.

10/6/2006 Harvick, C.        Prepare for and meet with the Diversified Trust Deed          2.3      862.50
                             Fund Committee to discuss update on recovery
                             efforts, dealings with J. Milanowski and his plan for
                             reorganization and the California Mortgage and Realty
                             Letter of Intent.

10/6/2006 Harvick, C.        Participate in call with M. Tucker to discuss                 0.2       75.00
                             Committee meeting and strategy moving forward.

10/6/2006 Tucker, M.         Various follow up to Committee conference call                0.5      225.00
                             including discussion of same with C. Harvick.



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Date      Consultant         Description                                              Hours       Fees

10/11/200 Harvick, C.        Participate in call with Diversified Trust Deed Fund       1.2      450.00
                             Committee regarding developments with J.
                             Mailanowski and California Mortgage and Realty.

10/11/200 Tucker, M.         Participate in Committee conference call on status of      1.4      630.00
                             case and issues.

10/12/200 Harvick, C.        Read and respond to Diversified Trust Deed Fund            0.2       75.00
                             investor inquiry.

10/12/200 Tucker, M.         Prepare for and participate in all Committee meeting       4.9    2,205.00
                             on Plan issues and negotiations.

10/16/200 Harvick, C.        Participate in Diversified Trust Deed Fund Committee       1.3      487.50
                             call regarding plan negotiations, dealings with
                             Investment Partners, proposed wage and bonus plan,
                             etc.

10/16/200 Tucker, M.         Prepare for and participate in Committee conference        2.1      945.00
                             call.

10/17/200 Harvick, C.        Send Wage and Bonus Plan summary to Diversified            0.1       37.50
                             Trust Deed Fund Committee.

10/27/200 Tucker, M.         Participate in Committee conference call on current        1.0      450.00
                             issues and status of sale.

10/27/200 Tucker, M.         Respond to Diversified investor inquiry on tax             0.2       90.00
                             projection for Diversified Trust Deed Fund for 2006.

10/30/200 Harvick, C.        Review Committee member request regarding 2006             0.3      112.50
                             tax issues and send follow-up e-mail to Mesirow.

10/31/200 Harvick, C.        Participate in conference call with Diversified Trust      1.0      375.00
                             Deed Fund Committee regarding status of dealing
                             with Investment Partners, negotiations of Joint Plan
                             Term Sheet, and next steps.

10/31/200 Tucker, M.         Review e-mail on tax issues for Diversified Trust Deed     0.3      135.00
                             Fund Committee.

Total for Meetings & Communications with Diversified Committee:                        20.2    8,542.50

Plan and Other Restructure Related Work
10/3/2006 Harvick, C.        Prepare for and meet with J. Giordano and M. Tucker        1.7      637.50
                             (part) regarding Investment Partners recovery efforts,
                             Investment Partners $58 million accounts receivable.
                             10-90 and Ashby related activity.

10/3/2006 Tucker, M.         Prepare for and participate in meeting with J.             0.5      225.00
                             Giordano of Sierra Consulting and C. Harvick
                             regarding Investment Partners information.

10/5/2006 Peterson, L.       Review Diversified Trust Deed Fund and USA                 2.3      678.50
                             Commercial Mortgage general ledgers and bank
                             support to track the USA Commercial Mortgage
                             receivable from beginning to the current $18.9 million
                             and prepare scheulde to calculate interest based on
                             this detail.




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10/6/2006 Peterson, L.   Continue to review Diversified Trust Deed Fund and            2.5      737.50
                         USA Commercial Mortgage general ledgers and bank
                         support to track the USA Commercial Mortgage
                         receivable from beginning to the current $18.9 million
                         and prepare schedule to calculate interest based on
                         this detail.

10/9/2006 Belt, D.       Prepare synopsis of Retention Plan for distribution to        1.3      539.50
                         Committee.

10/9/2006 Belt, D.       Download and review Retention Plan motion.                    0.7      290.50

10/9/2006 Harvick, C.    Call with M. Levinson, J. Hermann and M. Tucker to            1.7      637.50
                         discuss Plan issues, Joint Plan Term Sheet and
                         strategy in negotiations.

10/9/2006 Harvick, C.    Call with M. Levinson and M. Tucker to discuss                0.5      187.50
                         project status.

10/9/2006 Harvick, C.    Prepare for and discuss strategy for negotiations with        0.8      300.00
                         Committee and workplan with M. Tucker.

10/9/2006 Peterson, L.   Continue to review Diversified Trust Deed Fund and            5.6    1,652.00
                         USA Commercial Mortgage general ledgers and bank
                         support to track the USA Commercial Mortgage
                         receivable from beginning to the current $18.9 million
                         and prepare schedule to calculate interest based on
                         this detail.

10/9/2006 Tucker, M.     Conference with M. Levinson, C. Harvick and J.                0.5      225.00
                         Hermann regarding plan issues and case status.

10/9/2006 Tucker, M.     Participate in all hands status call including plan           1.0      450.00
                         status, loan allocations, distributions and other topics.

10/9/2006 Tucker, M.     Review order to extend exclusivity.                           0.1       45.00

10/9/2006 Tucker, M.     Conference with M. Levinson, C. Harvick and J.                1.8      810.00
                         Hermann regarding plan issues, issues for negotiation
                         and approach for meeting with other Committees.

10/10/200 Harvick, C.    Review of Joint Settlement Agreement between First            0.2       75.00
                         Trust Deed Fund and Diversified Trust Deed Fund.

10/10/200 Tucker, M.     Review plan objections by SEC.                                0.1       45.00

10/11/200 Tucker, M.     Review Revised Joint Plan Term Sheet and discuss              2.7    1,215.00
                         same with J. Hermann and M. Levinson.

10/11/200 Tucker, M.     Review letter from R. Charles on offset issues and            0.2       90.00
                         related items.

10/11/200 Tucker, M.     Prepare for meeting with all Committees on terms              0.4      180.00
                         sheets.

10/12/200 Harvick, C.    Call with M. Tucker regarding analysis and research           0.4      150.00
                         for Diversified Trust Deed Fund set-off of unsecured
                         claim.

10/12/200 Harvick, C.    Meet with L. Peterson to discuss analysis of                  0.2       75.00
                         Diversified Trust Deed Fund return on assets over
                         time for plan negotiations.

10/12/200 Harvick, C.    Review of plan of reorganization considerations for           0.2       75.00
                         Diversified Trust Deed Fund.


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Date      Consultant     Description                                              Hours       Fees

10/12/200 Peterson, L.   Discussion with C. Harvick regarding Diversified Trust     0.2       59.00
                         Deed Fund return on assets over time for plan
                         negotiations.

10/12/200 Tucker, M.     Call with C. Harvick regarding Diversified Trust Deed      0.4      180.00
                         Fund set off of unsecured claims.

10/12/200 Tucker, M.     Non working travel to Los Angeles to meet with all         3.3    1,485.00
                         Committees regarding Plan issues.

10/13/200 Harvick, C.    Review analysis of Diversified Trust Deed Fund             0.4      150.00
                         management fees and interest earned on assets,
                         meet with L. Peterson regarding same.

10/13/200 Harvick, C.    Review Diversified Trust Deed Fund equity section          0.2       75.00
                         and send to M. Tucker for plan negotiations.

10/13/200 Peterson, L.   Update schedule with management fees, interest             1.9      560.50
                         earned and total assets to reflect management fee
                         percentage and annualized percentage of total note
                         receivables. Discuss with C. Harvick.

10/13/200 Tucker, M.     Non working travel from Los Angeles to Phoenix from        2.8    1,260.00
                         the all Committee meeting.

10/13/200 Tucker, M.     Participate in all Committee Plan negotiation meeting      6.5    2,925.00
                         in Los Angeles.

10/16/200 Harvick, C.    Review of calculation of interest schedule for             0.6      225.00
                         Diversified Trust Deed Fund Investment Partners
                         accounts receivable and Diversified Trust Deed Fund
                         USA Commercial Mortgage accounts receivable for
                         plan negotiations.

10/16/200 Harvick, C.    Participate in call with J. Giordano and T. Burr           0.6      225.00
                         regarding Investment Partners recoveries and
                         Diversified Trust Deed Fund's position on rights to
                         proceeds from 10-90 collateral and the collateral
                         pledged for the $58 million Investment Partners
                         accounts receivable.

10/16/200 Harvick, C.    Meet with J. Giordano regarding 10-90 tracing              0.7      262.50
                         exercise performed by Mesirow and support provided
                         by D. Fogg.

10/17/200 Harvick, C.    Review request by T. Burr regarding Diversified Trust      0.7      262.50
                         Deed Fund assets and investor equity position at
                         petition date; prepare summary schedule and e-mail
                         finding to T. Burr.

10/17/200 Harvick, C.    Review summary of Wage and Bonus Plan; e-mail to           0.3      112.50
                         M. Tucker.

10/17/200 Harvick, C.    Participate in all hands Committee call regarding plan     0.8      300.00
                         negotiations bid procedures, upcoming hearing,
                         payoffs for the month, interim distributions and
                         dealings with Investment Partners.

10/18/200 Harvick, C.    Review analysis of Diversified Trust Deed Fund equity      0.7      262.50
                         section and prepare schedule to provide to the
                         unsecured creditors financial advisors for plan
                         negotiations.




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Date      Consultant     Description                                              Hours       Fees

10/18/200 Harvick, C.    Review of analysis of Diversified Trust Deed Fund          0.7      262.50
                         operating agreement, prospectus and loan servicing
                         agreement.

10/18/200 Harvick, C.    Review of First Trust Deed Fund and Diversified Trust      0.4      150.00
                         Deed Fund operating agreements.

10/18/200 Harvick, C.    Review sample Diversified Trust Deed Fund investor         0.3      112.50
                         statement and send to T. Burr for plan negotiations.

10/18/200 Peterson, L.   Reconciling the Diversified Trust Deed Fund fund           0.6      177.00
                         activity report which shows shares outstanding
                         (equity) to Diversified Trust Deed Fund's financial
                         statements.

10/18/200 Peterson, L.   PDF and e-mail to C. Harvick a Diversified Trust Deed      0.2       59.00
                         Fund some example investor statements.

10/18/200 Peterson, L.   Make C. Harvick's changes to schedule comparing            0.1       29.50
                         equity on Diversified Trust Deed Fund balance sheets
                         to Diversified Trust Deed Fund Fund Activity Report
                         and make PDF to send to Unsecured Creditors
                         Committee financial advisors.

10/18/200 Tucker, M.     Review e-mail and attachment of Diversified Trust          0.2       90.00
                         Deed Fund investor equity and statements provided to
                         USA Commercial Mortgage financial advisors.

10/20/200 Harvick, C.    Meet with T. Burr and J. Giordano regarding                1.5      562.50
                         Investment Partners, Diversified Trust Deed Fund
                         equity and plan negotiations.

10/20/200 Tucker, M.     Participate in conference call with M. Levinson and J.     1.0      450.00
                         Hermann regarding Plan issues.

10/23/200 Harvick, C.    Review of Revised Joint Term Sheet and e-mails             1.2      450.00
                         regarding same; discussion with M. Tucker regarding
                         same.

10/23/200 Tucker, M.     Review and analyze revised term sheet from R.              1.2      540.00
                         Charles; draft reply to Diversified Trust Deed Fund
                         counsel; discuss same with C. Harvick.

10/24/200 Harvick, C.    Review Revised Joint Term Sheet.                           0.3      112.50

10/24/200 Harvick, C.    Call with Diversified Trust Deed Fund and Unsecured        1.0      375.00
                         Creditors Committee professionals to discuss the
                         Joint Term Sheet.

10/24/200 Harvick, C.    Review of Diversified Trust Deed Fund equity section       0.5      187.50
                         and call with M. Tucker, M. Levinson (part) and J.
                         Hermann (part).

10/24/200 Harvick, C.    Participate in call with M. Tucker, J. Hermann and M.      2.5      937.50
                         Levinson regarding the Joint Plan Term Sheet and the
                         negotiations regarding Investment Partners recoveries.

10/24/200 Harvick, C.    Call and e-mail T. Burr to set-up meeting to discuss       0.2       75.00
                         outstanding term sheet items; subsequent call with T.
                         Burr to discuss highlevel issues and set a time to
                         meet.

10/24/200 Tucker, M.     Participate in conference call with J. Hermann, M.         2.5    1,125.00
                         Levinson and C. Havick regarding analysis of current
                         Joint Plan Term Sheet and potential alternatives.


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10/24/200 Tucker, M.    Participate in conference call with T. Burr, S.              1.5      675.00
                        Freeman, R. Charles, M. Levinson, J. Hermann and
                        C. Harvick regarding Joint Plan Term Sheet and
                        settlement with USA Commercial Mortgage including
                        follow up with Diversified Trust Deed Fund
                        professionals after call.

10/24/200 Tucker, M.    Review revised Revised Joint Plan Term Sheet and             1.2      540.00
                        discuss with M. Levinson and J. Hermann.

10/25/200 Harvick, C.   Prepare for and meet with T. Burr to discuss                 3.0    1,125.00
                        Diversified Trust Deed Fund equity, Diversified Trust
                        Deed Fund's funds used to purchase Investment
                        Partners' membership interest in Oak Valley, and the
                        detail for the $58 million receivable from Investment
                        Partners.

10/25/200 Harvick, C.   Conference with M. Tucker regarding additional               0.4      150.00
                        changes to term sheet including Investment Partners
                        issues on $58 million collateral package.

10/25/200 Harvick, C.   Prepare for and participate in call with M. Levinson, J.     1.8      675.00
                        Hermann, and M. Tucker (part) regarding revisions to
                        the Joint Plan Term Sheet.

10/25/200 Harvick, C.   Prepare recovery scenario's for payout of unsecured          0.4      150.00
                        claims.

10/25/200 Harvick, C.   Review of Diversified Trust Deed Fund Revised Joint          0.3      112.50
                        Joint Plan Term Sheet.

10/25/200 Tucker, M.    Review term sheet version sent to R. Charles.                0.3      135.00

10/25/200 Tucker, M.    Conference with C. Harvick regarding additional              0.4      180.00
                        changes to term sheet including Investment Partners
                        claim issues on $58 million collateral package.

10/25/200 Tucker, M.    Review revised draft term sheet and conference with          1.3      585.00
                        M. Levinson, J. Hermann and C. Harvick.

10/29/200 Tucker, M.    Review revised term sheet from R. Charles and                1.9      855.00
                        issues by T. Burr for support.

10/29/200 Tucker, M.    Conference with J. Hermann and M. Levinson                   1.6      720.00
                        regarding new Joint Plan Term Sheet.

10/29/200 Tucker, M.    Additional conference call with M. Levinson and J.           2.0      900.00
                        Hermann regarding responding to Joint Plan Term
                        Sheet.

10/29/200 Tucker, M.    Review various e-mails from R. Charles, E. Karasic,          0.6      270.00
                        M. Levinson, J. Hermann, A. Jarvis and C. Pajak
                        regarding Joint Plan Term Sheet and inclusion of
                        information in revised plan

10/30/200 Belt, D.      Review net equity calculation and email from USA             0.7      290.50
                        Commercial Mortgage financial advisor regarding
                        disallowance of accounts receivable for accrued
                        interest. Review draft email response from C. Harvick
                        regarding same.

10/30/200 Harvick, C.   Prepare request and participate in call with J. Reed         0.2       75.00
                        regarding the request for the agreement between
                        USA Realty and USA Commercial Mortgage.



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10/30/200 Harvick, C.   Review multiple e-mails regarding the Joint Plan Term       0.3      112.50
                        Sheet, various committee positions and responses.

10/30/200 Harvick, C.   Review T. Burr analysis of Diversified Trust Deed           2.6      975.00
                        Fund assets and compare his analysis to FTI analysis
                        for purposes of negotiating the Joint Plan Term Sheet
                        with the Unsecured Creditors Committee.

10/30/200 Harvick, C.   Determine Diversified Trust Deed Fund's change in           1.0      375.00
                        equity from December 2005 to the petition date of the
                        Debtors.

10/30/200 Harvick, C.   Prepare and send response to T. Burr regarding              1.7      637.50
                        Diversified Trust Deed Fund's equity.

10/30/200 Harvick, C.   Review Diversified Trust Deed Fund's fund activity for      0.9      337.50
                        December 2005 and September 2006, compare the
                        fund activity report to Diversified Trust Deed Fund's
                        financial statements and Diversified Trust Deed
                        Fund's 2005 tax return.

10/30/200 Harvick, C.   Compare Diversified Trust Deed Fund's 2005 tax              0.6      225.00
                        return to Diversified Trust Deed Fund's December
                        2005 financial statements.

10/30/200 Harvick, C.   Participate in call with T. Burr regarding Diversified      0.5      187.50
                        Trust Deed Fund equity and plan negotiations.

10/30/200 Harvick, C.   Participate in call with M. Tucker on Diversified Trust     0.4      150.00
                        Deed Fund Plan negotiation issues discussed over
                        the weekend and late last week.

10/30/200 Harvick, C.   Participate in call with all Committee professionals to     0.7      262.50
                        discuss the Joint Plan Term Sheet.

10/30/200 Harvick, C.   Participate in call with J. Hermann, and M. Levinson        0.7      262.50
                        regarding response to R. Charles proposed changes
                        to the Joint Plan Term Sheet, related issues, and
                        prepare response.

10/30/200 Harvick, C.   Participate in call with J. Hermann and M. Levinson         1.0      375.00
                        regarding response to R. Charles proposed changes
                        to the Joint Plan Term Sheet, related issues and
                        prepare response.

10/30/200 Harvick, C.   Participate in call with S. Smith regarding Diversified     0.4      150.00
                        Trust Deed Fund equity.

10/30/200 Tucker, M.    Conference with C. Harvick regarding reply to T. Burr       0.4      180.00
                        regarding Diversified Trust Deed Fund original equity
                        and unsecured claim.

10/30/200 Tucker, M.    Conference with M. Levinson regarding status of Joint       0.3      135.00
                        Plan Term Sheet and discussions with other
                        Committees.

10/30/200 Tucker, M.    Draft e-mails to C. Harvick and review draft reply back     0.6      270.00
                        to T. Burr.

10/30/200 Tucker, M.    Review final reply to T. Burr regarding Diversified         0.2       90.00
                        Trust Deed Fund claim and investment.

10/30/200 Tucker, M.    Review various revisions to Joint Plan Term Sheet.          0.8      360.00




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Date       Consultant         Description                                              Hours          Fees

10/31/200 Harvick, C.         Participate in call with J. Hermann and M. Levinson        0.7         262.50
                              regarding Diversified Trust Deed Fund's assets and
                              member equity at petition date, interest on our
                              unsecured claim and interest on the 10-90 and $58
                              million note.

10/31/200 Harvick, C.         Review of USA Commercial Mortgage and Investment           0.5         187.50
                              Partners settlement term sheet and various e-mails
                              regarding same.

10/31/200 Harvick, C.         Review e-mails pertaining to the lack of                   0.1          37.50
                              documentation between USA Commercial Mortgage
                              and USA Realty.

10/31/200 Harvick, C.         Participate in call with Diversified Trust Deed Fund       0.7         262.50
                              Professionals and Unsecured Creditors Committee
                              professionals to negotiate the Joint Plan Term Sheet.

10/31/200 Harvick, C.         Participate in call with M. Tucker regarding FTI's         0.3         112.50
                              position on Diversified Trust Deed Fund's equity and
                              unsecured claim against USA Commercial Mortgage.

10/31/200 Harvick, C.         Participate in call with M. Levinson and J. Hermann        0.3         112.50
                              regarding the changes made by E. Karasik to the
                              Joint Plan Term Sheet.

10/31/200 Harvick, C.         Revise schedule of interest on $18.9 million               1.1         412.50
                              Diversified Trust Deed Fund accounts receivable from
                              USA Commercial Mortgage and compare transactions
                              to $58 million accounts receivable detail.

10/31/200 Harvick, C.         Participate in call with J. Hermann and M. Levinson        0.4         150.00
                              regarding negotiations of the Joint Plan Term Sheet.

10/31/200 Harvick, C.         Prepare for and participate in call with S. Smith          0.5         187.50
                              regarding Diversified Trust Deed Fund equity and
                              original investment.

10/31/200 Harvick, C.         Call with R. Charles, M. Levinson, S. Freeman and J.       0.1          37.50
                              Hermann to discuss scheduling.

10/31/200 Harvick, C.         Prepare for and participate in call with S. Smith          0.4         150.00
                              regarding Diversified Trust Deed Fund equity and
                              original investment; send follow-up e-mail and
                              voicemail to T. Burr.

10/31/200 Harvick, C.         Participate in call with T. Burr regarding Diversified     0.4         150.00
                              Trust Deed Fund equity.

10/31/200 Tucker, M.          Review e-mail sent to T. Burr on Diversified Trust         0.3         135.00
                              Deed Fund investment.

10/31/200 Tucker, M.          Review e-mail on C. Harvick's discussion with S.           0.7         315.00
                              Smith and T. Burr and discuss same with C. Harvick.

10/31/200 Tucker, M.          Review Revised Joint Plan Term Sheet.                      1.0         450.00


Total for Plan and Other Restructure Related Work:                                      98.1      38,846.00

Grand Total                                                                            365.6   $132,761.25




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                               USA Capital Diversified Trust Deed Fund
                                          Summary Exhibit D
                              Professional Expenses Incurred by Category
                             For the Period of 10/1/2006 through 10/31/2006
Consultant           Date Incurred Description of Expense                                           Amount

Administrative
Administration          10/5/2006    Electronic Subscriptions - Pacer Service Center 07-              286.16
                                     01 thru 09-30.

Total for Administrative:                                                                             286.16

Airfare
Tucker, M.             10/12/2006    Air Fare from PHX to LAX 10/12/06 return 10/13/06.               240.60

Tucker, M.             10/18/2006    Air Fare from LAS to PHX on 10/18/06.                            121.80

Tucker, M.             10/18/2006    Air Fare from PHX to LAS 10/18/06.                               123.30

Total for Airfare:                                                                                    485.70

Lodging
Tucker, M.             10/13/2006    Lodging in Los Angeles, CA for 1 Night, Check In                 341.07
                                     10/12/06 - Check Out 10/13/06.

Total for Lodging:                                                                                    341.07

Meals
Tucker, M.             10/12/2006    Dinner.                                                           12.64

Tucker, M.             10/13/2006    Dinner.                                                           43.68

Tucker, M.             10/13/2006    Breakfast.                                                        17.27

Tucker, M.             10/18/2006    Dinner.                                                           18.07

Tucker, M.             10/18/2006    Lunch.                                                            16.24

Total for Meals:                                                                                      107.90

Other
Tucker, M.             10/13/2006    Internet Provider Charges - Los Angeles, CA on                     9.95
                                     10/12/06-10/13/06.

Total for Other:                                                                                        9.95

Transportation
Tucker, M.             10/12/2006    Taxi - airport to attorney's office.                              48.00

Tucker, M.             10/13/2006    home to PHX and return.                                            6.23

Tucker, M.             10/13/2006    Parking - PHX.                                                    40.00


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Consultant       Date Incurred Description of Expense                                     Amount

Tucker, M.           10/18/2006    Parking - PHX                                              20.00

Tucker, M.           10/18/2006    Home to PHX and return.                                     6.23

Tucker, M.           10/18/2006    Taxi - airport to USA Capital office.                      19.00

Total for Transportation:                                                                   139.46

Grand Total                                                                              $1,370.24




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